        Case 4:14-cr-00171 Document 117 Filed on 05/07/14 in TXSD Page 1 of 3




                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

UNITED STATES OF AMERICA                              §
                                                      §
V.                                                    §           CRIMINAL NO. H-14-0171
                                                      §
VERMON LACY III                                       §


                              ORDER OF DETENTION PENDING TRIAL

        In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. I conclude that the following facts are established by a preponderance of the evidence and
require the detention of the above-named defendant pending trial in this case.

                                              Findings of Fact

[ ] A. Findings of Fact [18 U.S.C. § 3142(e), § 3142(f)(1)].

     [ ] (1)      The defendant has been convicted of a (federal offense) (state or local offense that
                  would have been a federal offense if a circumstance giving rise to federal jurisdiction
                  had existed) that is

                       []      a crime of violence as defined in 18 U.S.C. § 3156(a)(4).

                       []      an offense for which the maximum sentence is life imprisonment or death.

                       []      an offense for which a maximum term of imprisonment of ten years or
                               more is prescribed in 21 U.S.C. ( ) § 801 et seq. ( ) § 951 et seq.
                               ( ) § 955(a).

                       []      a felony that was committed after the defendant had been convicted of two
                               or more prior federal offenses described in 18 U.S.C. § 3142(f)(1)
                               (A)-(C), or comparable state or local offenses.

           [ ] (2) The offense described in finding 1 was committed while the defendant was on release
                   pending trial for a federal, state or local offense.

           [ ] (3) A period of not more than five years has elapsed since the (date of conviction) (release
                   of the defendant from imprisonment) for the offense described in finding 1.

           [ ] (4) Findings Nos. 1, 2, and 3 establish a rebuttable presumption that no condition or
                   combination of conditions will reasonably assure the safety of any other person and the
                   community. I further find that the defendant has not rebutted this presumption.
      Case 4:14-cr-00171 Document 117 Filed on 05/07/14 in TXSD Page 2 of 3




[]      B.        Findings of Fact [18 U.S.C. § 3142(e)]

        [ ] (1) There is probable cause to believe that the defendant has committed an offense

                      []      for which a maximum term of imprisonment of ten years or more is
                              prescribed in 21 U.S.C.
                              ( ) § 801 et seq. ( ) § 951 et seq. ( ) § 955(a).

                      []      under 18 U.S.C. § 924(c).

        [ ] (2) The defendant has not rebutted the presumption established by finding 1 that no
                condition or combination of conditions will reasonably assure the appearance of the
                defendant as required and the safety of the community.

[X]     C.        Findings of Fact [18 U.S.C. § 3142(f)(2)]

        [X] (1) Defendant is accused of conspiracy to defraud the United States and to pay and receive
                kickbacks in violation of 18 U.S.C. § 371.

        [X] (2) There is a serious risk that the defendant will flee.

        [ ] (3) Defendant represents a danger to the community.

        [ ] (4) There is a serious risk that the defendant will (obstruct or attempt to obstruct justice)
                (threaten, injure, or intimidate a prospective witness or juror, or attempt to do so).

[X]     D.        Findings of Fact [18 U.S.C. § 3142(c)]

        [ ] (1) As a condition of release of the defendant, bond was set as follows:

        [ ] (2)

        [X] (3)       I find that there is no condition or combination of conditions set forth in 18 U.S.C.
                      § 3142(c) which will reasonably assure the appearance of the defendant as
                      required.

        [ ] (4) I find that there is no condition or combination of conditions set forth in 18 U.S.C.
                § 3142(c) which will reasonably assure the safety of any other person or the
                community.

                              Written Statement of Reasons for Detention

        I find that the accusations in the indictment and the information provided in the pretrial services
report and at the detention hearing establish by a preponderance of the evidence that no condition or
combination of conditions will reasonably assure the appearance of the defendant as required.

                                                     2
     Case 4:14-cr-00171 Document 117 Filed on 05/07/14 in TXSD Page 3 of 3




       I conclude that the following factors specified in 18 U.S.C. § 3142(g) are present and are to
be taken into account:

        1.      Defendant is a U.S. citizen born and raised in the United States. He and his mother, a
                co-defendant, were homeless until recently moving in with his sister in a house she
                leases. His stepfather recently passed away. He has no contact with his father or older
                sibling. He has never been married and has no children.

        2.      Defendant's criminal history includes an arrest for public intoxication and a conviction
                for driving while intoxicated.

        3.      Defendant has been charged with conspiracy to defraud the United States and to pay
                and receive kickbacks in violation of 18 U.S.C. § 371. He faces of penalty of up to 5
                years in prison.

        4.      Defendant lacks any real financial ties to the community and lacks stable employment
                and living arrangements.

        5.      There is no condition or combination of conditions of release which would assure the
                appearance of the defendant in court. Detention is ordered.

                                    Directions Regarding Detention

        It is therefore ORDERED that the defendant is committed to the custody of the Attorney
General or his designated representative for confinement in a corrections facility separate, to the extent
practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
defendant shall be afforded a reasonable opportunity for private consultation with defense counsel.
On order of a court of the United States or on request of an attorney for the Government, the person
in charge of the corrections facility shall deliver the defendant to the United States Marshal for the
purpose of an appearance in connection with all court proceedings.

        Signed at Houston, Texas, on May 7, 2014.




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